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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                               Eastern Division

Chicago Alliance Against Racist and Political
Repression, et al.
                                                     Plaintiff,
v.                                                                Case No.:
                                                                  1:24−cv−02347
                                                                  Honorable Andrea R.
                                                                  Wood
City of Chicago, et al.
                                                     Defendant.



                          NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, August 16, 2024:


        MINUTE entry before the Honorable Andrea R. Wood: In light of Plaintiff's
notice of withdrawal of emergency motion for preliminary injunction relief regarding
City's partial denial of permit to Plaintiff CAARPR for use of Union Park [47], Plaintiff's
emergency motion for preliminary injunctive relief [43] is voluntarily withdrawn. Thus,
the in−person hearing for oral argument set for 8/16/2024 is stricken; parties need not
appear. Mailed notice (lma, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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